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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FIDELITY BROKERAGE SERVICES                       )
LLC,                                              )
                                                  )
               Plaintiff,                         )
                                                  )       No. 20 CV 2133
               v.                                 )
                                                  )       Judge John J. Tharp, Jr.
JENNIFER TAYLOR,                                  )
                                                  )
               Defendant.

                                             ORDER

       Defendant’s amended motion to compel discovery responses [42] is granted in part and
denied in part. See Statement below for details.

                                          STATEMENT

        In a complaint filed on April 3, 2020, plaintiff Fidelity Brokerage Services LLC claims that
defendant Jennifer Taylor, who was until March 6, 2020, a vice president and financial consultant
with Fidelity, is misusing Fidelity’s confidential and trade secret customer information to solicit
Fidelity customers to follow her to her new employer, Fairhaven Wealth Management. Taylor
denies misusing Fidelity information and soliciting investment management business from her
former Fidelity customers.

        Fidelity has moved for a preliminary injunction. [4] The Court permitted limited expedited
discovery [29], in which the parties are now engaged. Among other discovery, each side was
permitted to make five document requests. The overarching limitation on the scope of the
discovery permitted is that only discovery of “information at the heart of this dispute—that is,
whether Ms. Taylor has used Fidelity’s information improperly to solicit her former clients at
Fidelity to follow her to Fairhaven”—is permitted.

        Defendant Taylor has moved to compel more fulsome responses from Fidelity regarding
her document requests, complaining that it has (a) asserted a litany of boilerplate objections to
every single request; (b) failed to state whether it has withheld any documents on the basis of those
objections; and (c) has refused to produce whole categories of documents that are unquestionably
relevant to the claims at issue. According to Taylor, Fidelity has produced only six documents in
response to her requests. For its part, Fidelity maintains that Taylor’s discovery requests are
inappropriately broad and/or not relevant to the central question of whether Taylor used Fidelity’s
information to solicit her clients to follow her to Fairhaven.

       The parties’ specific disputes are summarized and resolved as follows:
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       1. Request No. 1: Documents that “constitute, identify, describe, concern or relate to
the confidential information and/or trade secret information that Fidelity contends Ms.
Taylor has misappropriated, as alleged in this lawsuit.”

        Fidelity contends that this request is too vague and broad to the extent that it seeks
discovery of any document that concerns or relates to categories of information like Fidelity’s
customer lists; read literally, Fidelity contends, the request can be read to call for production of
any document relating to Fidelity’s customers—a request that would arguably extend to virtually
every document in Fidelity’s possession. Taylor characterizes this request more narrowly, as
seeking the trade secrets and confidential information that she is alleged to have misappropriated.
Memorandum, ECF No. 43, at 6 (the request “could not be more straightforward”; it “simply asks
Fidelity to produce the ‘confidential information’ and ‘trade secrets’ that she has been accused of
stealing”).

         To the extent that Taylor is seeking “information” rather than documents, however, she is
off-base. This is a document request, not an interrogatory; it requires the production of existing
documents, not the creation of a narrative description or listing of confidential information Taylor
allegedly misappropriated.1 Fairly construed and limited to existing documents, Taylor’s request
is for Fidelity to produce any document it contends evidences misappropriation of trade secrets by
Taylor. That would include documents containing Fidelity’s confidential information that Taylor
took with her when she resigned,2 and any documents that discuss the use of proprietary
information by Taylor in connection with her resignation and move to Fairhaven. If Fidelity cannot
identify any such documents then it will have nothing to produce in response to this request. Taylor
has no grounds to object on that score; she can hardly complain about Fidelity’s inability to
produce materials that would provide evidentiary support for its claims.

       Request No. 2: Documents “that constitute, identify, describe, concern or relate to
any allegedly improper solicitation of any Fidelity client(s) by Ms. Taylor, as alleged by
Plaintiff in this lawsuit.”

        Taylor’s motion focuses on three types of information pertaining to her alleged solicitation
of Fidelity customers. For one, she seeks production of her Outlook Calendar for the 12 months
before her resignation. Fidelity has produced the calendar entries for 2020 but maintains that earlier
entries are not relevant and overly burdensome to produce. Taylor says that the entries are relevant
to show her normal calendaring practices to rebut Fidelity’s argument that she made appointments
with Fidelity clients for dates she knew she would no longer be working for Fidelity. That misses
the point, Fidelity argues; Taylor’s calendaring was relevant because she only made entries for

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         In any event, Fidelity has identified what it maintains is the trade secret information that
Taylor misappropriated. Fidelity says that “Taylor misappropriated names, addresses and phone
numbers, at a minimum for multiple Fidelity clients from Fidelity’s trade secret client list.”
Response, ECF No. 49, at 3-4. In complaining that this description is inadequate, Taylor conflates
interrogatories with document requests.
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        Taylor’s reply brief makes it clear that she is asking for production of trade secret
documents that she is alleged to have misappropriated. See Reply, ECF No. 50, at 2 (e.g., “Did she
download files on a thumb drive? If so, produce them.”).


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post-resignation meetings with Fidelity clients in her personal Outlook calendar, not in the Sales
Force calendar that others could access. Taylor argues that is consistent with her historical practice,
so a full year’s information is needed. While this line of evidence strikes the Court as lacking
substantial probative force (for either party), since both sides agree that calendaring is going to be
an issue, the Court will require Fidelity to produce Taylor’s Outlook calendar for the 12-month
period prior to her resignation. The burden in doing so should be minimal; as Taylor points out,
producing 12 months of calendar data is only minimally more burdensome than producing 3
months’ worth. In suggesting that this will potentially require review of tens of thousands of
calendar entries, Fidelity’s unexplained estimate is unpersuasive hyperbole.

        In her initial brief, Taylor also sought production of Fidelity’s full compliance manual.
Fidelity says it offered to produce the portions of the manual addressing “what an employee should
say when asked by a client about a former financial consultant’s new contact information, and in
reply, Taylor has limited her request to “the 2019 policy regarding FINRA Regulatory Notice 19-
10” (“Guidance on Customer Communications Related to Departing Registered Representatives”).
Again, this is of dubious probative force (evidence that Fidelity had a policy requiring employees
to provide contact information of departed advisers seemingly cuts against a claim that Fidelity
employees did not do so; Taylor’s evidence presumably must come from testimony of clients or
Fidelity employees who say that, notwithstanding such a policy, such information was not
provided, or from records of communications between Fidelity employees and Taylor’s former
clients—see next paragraph). At any rate, Fidelity’s policy concerning information to be provided
about departed advisers has some relevance and should not pose any significant burden to produce;
accordingly, Fidelity is directed to produce it.

        Third, and perhaps most significantly, Taylor seeks documents constituting or reporting
Fidelity’s communications with clients about Taylor’s departure. These documents, she argues,
“are relevant to Fidelity’s allegation that Ms. Taylor was soliciting clients while at Fidelity, and
the issue of whether Fidelity was wrongfully refusing to provide clients with Ms. Taylor’s
contact information upon request (in violation of its own internal compliance procedures and
FINRA rules).” Memorandum, ECF No. 43, at 8-9. Fidelity has produced its “Salesforce” (a client
contact application) records of communications with Fidelity clients about Taylor’s departure, but
Taylor correctly notes that numerous Salesforce entries refer to email communications that are
either paraphrased or only partially copied into the Salesforce entry. Fidelity’s production of the
relevant Salesforce records is a necessary, but not sufficient, response; they provide, at best, only
a partial record of Fidelity’s communications with clients about Taylor’s departure.

         Fidelity characterizes Taylor as seeking the production of “the full contents of her
Microsoft Outlook account,” which “would include every email ever sent or received.” Resp. ECF
No. 49 at 7. But that is not what Taylor asks for; her request is more limited: “Fidelity must produce
all of its email communications with clients concerning her departure.” Memorandum, ECF No.
43, at 9. That is a reasonable request, and indeed, Fidelity says that it has “gone back to search for
additional client emails related to Taylor’s departure from Fidelity, and it will be producing those
shortly,” Resp. at 7, so there appears to be no dispute as to the need to produce such documents.
Fidelity is directed to produce all of its email (or other documented communications) with clients
concerning Taylor’s departure, whether they are included (in whole or part) in the Salesforce
records already produced.



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       Request No. 3 and 5: documents relating to the quality of Taylor’s performance.

        Taylor maintains that documents showing that she was a top performer at Fidelity are
relevant because they explain why clients would follow her to Fairhaven without being solicited
to do so. Specifically, she seeks in Request 5 documents that “identify, describe, concern or relate
to Ms. Taylor’s compensation and relative performance during the period of Scott Marshall’s
tenure as branch manager of Fidelity’s Oak Brook office.” In Request 3, she seeks documents
“sufficient to identify each Vice President Financial Consultant that Charles Meyer or Scott
Marshall have placed on ‘final written warning’ at Fidelity.” These documents, she contends,
would somehow show that she was the victim of bias by her bosses and that their reviews of her
work are therefore unreliable and do not rebut the evidence that she was a top performer.3

         These documents have little relevance to the question of whether Taylor improperly used
Fidelity’s trade secret and confidential information to solicit Fidelity clients to follow her to
Fairhaven. Unquestionably, evidence that Taylor was an effective financial consultant at Fidelity
would tend to make it more likely that some clients would follow her to Fairhaven. The proposition
is simple: good financial advisers engender more client loyalty than poor ones. But that does not
tell us anything about whether Ms. Taylor solicited clients to follow her or whether they did so on
their own. Even if we accept the proposition that more clients would follow an effective financial
consultant without prompting than would follow an ineffective consultant, that says nothing about
whether any clients who did move from Fidelity to Fairhaven in the wake of Ms. Taylor’s move
did so at her behest or on their own initiative.

       At best, evidence that Ms. Taylor was a strong performer may lend some plausibility to
other evidence that is more directly related to the question of whether Taylor solicited clients to
follow her to Fairhaven. In that light, evidence that she was compensated well, or that her
evaluations were strong has enough probative weight to warrant production and, accordingly, the
Court will require Fidelity to produce documents described in Paragraph 5 of Ms. Taylor’s motion.

        The documents sought by Request No. 3, however, are another matter. They are not
documents relating to Taylor’s performance but to the performance of others. This gives them even
less probative value; the argument for their relevance requires additional layers of inference (her
supervisors treated others better than her, so they were biased against her, so their performance
reviews are unreliable, so Taylor was actually a top performer, so clients would have an incentive
to follow her to Fairhaven, so some of them must have done so unbidden). That the requests seek
personal and sensitive information about non-parties to this suit who have nothing to do with the
events surrounding Ms. Taylor’s departure provides another substantial reason to deny these
requests. In short, this chain of inferences is too tenuous and tangential to support discovery—
much less limited expedited discovery for purposes of resolving a preliminary injunction motion—
of personnel records of other individuals who are not parties to this dispute and who had nothing
to do with Taylor’s departure from Fidelity.




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        Ms. Taylor does not explain how documents that identify others who were given final
performance warnings would show that she was mistreated.


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       Request No. 4: “documents and communications concerning the departure of a Vice
President Financial Consultant in Fidelity’s Chicago cluster market (each a “former
employee”) who, since 2004, left Fidelity to join another firm in the financial services
industry.”

         Ms. Taylor says that she needs this information to bolster her “waiver/estoppel” defense;
evidence that Fidelity did not sue others who left Fidelity and took clients with them, she contends,
establishes that Fidelity waived its right to enforce contractual restrictions on disclosure of
confidential information and solicitation of customers. There are several problems with this
argument, but three will suffice. Putting aside the question of whether non-enforcement of
restrictive covenants can ever rise to the level that would establish waiver or estoppel of any
attempt in another case to enforce such restrictions, the proposition that Fidelity regularly ignores
violations of its restrictive covenants is unpersuasive in light of the myriad cases Fidelity identifies
in which it has successfully enforced its restrictive covenants against departing employees. See
Response, ECF No. 49, at 13. Second, any species of estoppel argument that might be made would
depend on a showing that individual cases in which Fidelity did not seek enforcement of its
restrictive covenants were substantially similar to this case. As Fidelity argues, establishing that
proposition would require a “mini-trial” as to each situation Taylor identifies in order to establish
that reliance on non-enforcement in that situation would have been reasonable. Id. at 14. That is
not an exercise that the Court is going to entertain in the context of a preliminary injunction
hearing, particularly one that is merely a precursor to an arbitration. The evidence that Taylor
would require to support such a defense would take the hearing far afield of the limited scope of
expedited discovery the Court has authorized. And third, as with Taylor’s Request No. 3, this
request would extend discovery in this case to private and confidential employment records of
individuals who have nothing to do with the present dispute.

        Beyond her motion to compel the production of additional documents, Ms. Taylor also
objects to Fidelity’s redaction of information from the documents it has produced. Fidelity
represents that it has redacted only information “regarding customer investments and investment
decisions.” Id. at 15. Ms. Taylor contends that “attorneys’ eyes only” treatment of such records
should suffice and that she has no means to verify that the scope of the redactions is as Fidelity
describes it. Here, Ms. Taylor has the better of the argument; the Court has entered an agreed
protective order that adequately protects the confidentiality of information produced in the course
of discovery; that is the appropriate manner of protecting the confidentiality of documents
produced in discovery. Fidelity is therefore directed to produce unredacted copies of the
documents it has produced and will produce in this matter.

                                             * * * * *

        Fidelity is required to produce the additional materials identified above by July 2, 2020.
Because Ms. Taylor’s motion received a mixed verdict, the Court denies her request for fees and
costs associated with bringing the motion.


                                                               /s/ John J. Tharp, Jr.
Dated: June 24, 2020                                           John J. Tharp, Jr.
                                                               United States District Judge


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